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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

 UNITED STATES OF AMERICA
             Plaintiff                                   Case No: 1: 24-CR-00031-RP
 v


 FRANK RICHARD AHLGREN, III
 Defendant



         APPLICATION FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM

        The above case is set for proceedings before this Court at 2:00 P.M. on the 9th day of

April 2024, and the Defendant is now in the custody of the Travis County Correctional Complex,

3614 Bill Price Road, Del Valle, Texas 78617.

        The government respectfully requests that the Court issue an order directing the Clerk of the

Court to issue a Writ of Habeas Corpus Ad Prosequendum addressed to the Travis County

Correctional Complex, 3614 Bill Price Road, Del Valle, Texas 78617, commanding it to surrender

the Defendant into the custody of the United States Marshal for the Western District of Texas or his

or her duly authorized representative, and directing the Marshal or his or her representative to bring

the Defendant to Austin, Texas on April 9, 2024, at or before 2:00 P.M. for the purpose of said
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proceedings, and any further proceedings to be had in this cause.



                                                       Respectfully submitted,

                                                       JAIME ESPARZA
                                                       UNITED STATES ATTORNEY
                                                                               Digitally signed by WILLIAM
                                                      WILLIAM HARRIS HARRIS
                                               By:                   Date: 2024.03.28 10:04:51 -05'00'


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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION


 UNITED STATES OF AMERICA                               Case No: 1: 24-CR-00031-RP
             Plaintiff
 v

 FRANK RICHARD AHLGREN, III
             Defendant




              ORDER FOR WRIT OF HABEAS CORPUS AD PROSEQUENDUM

        Came on the application of the United States of America, representing that this cause is set

for hearing in Austin, Texas, at 2:00 P.M. on April 9, 2024; that the Defendant is now incarcerated,

and in the custody of the Travis County Correctional Complex, 3614 Bill Price Rd., Del Valle, TX

78617, that justice demands the Defendant's presence at such proceedings; and the Government prays

the Court to direct the issuance of a Writ of Habeas Corpus Ad Prosequendum for the attendance of

said Defendant; and the Court, being of the opinion that said application should be granted; it is

therefore,

        ORDERED that the Clerk issue a Writ of Habeas Corpus Ad Prosequendum, addressed to the

Travis County Correctional Complex, 3614 Bill Price Rd., Del Valle, TX 78617, directing that said

Defendant be delivered into the custody of the United States Marshal, and directing said Marshal to

bring the Defendant before this Court in Austin, Texas, at or before 2:00 P.M., on April 9, 2024, for

the purpose of said hearing, and any further proceedings to be had in this cause, and at the conclusion

of said proceedings to return said Defendant to the custody of the United States Marshal's Service.

        SIGNED and ENTERED at Austin, Texas, this ____ day of ______________, 2024.




                                                        UNITED STATES MAGISTRATE JUDGE
